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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 RUBY FREEMAN, et al.,

                       Plaintiffs,                 Case No. 1:21-cv-03354 (BAH)

                v.                                 Chief Judge Beryl A. Howell

 RUDOLPH W. GIULIANI,

                       Defendant.




 DECLARATION OF MERYL C. GOVERNSKI IN SUPPORT OF REPLY IN SUPPORT
           OF PLAINTIFFS’ MOTION TO COMPEL DISCOVERY,
        FOR ATTORNEYS’ FEES AND COSTS, AND FOR SANCTIONS


I, Meryl C. Governski, pursuant to 28 U.S.C. § 1746 hereby declare as follows:

     1.        I am over 18 years of age, of sound mind, and otherwise competent to make this

Declaration. The evidence set out in the following Declaration is based on my personal knowledge.

     2.        I represent Plaintiffs Ruby Freeman and Wandrea’ ArShaye Moss in the above

captioned case, and submit this Declaration in support of the Reply in Support of Plaintiffs’ Motion

to Compel Discovery, for Attorneys’ Fees and Costs, and for Sanctions.

     3.        To date, Defendant Giuliani has produced at least 5 documents including an email

address with a “@giulianipartners.com” extension. One such document includes an email from an

external sender to press@giulianipartners.com regarding the Watson Affidavit that directly refuted

Defendant Giuliani’s claims of fraud at State Farm Arena.

     4.        Pursuant to the Court’s Standing Order 5b, attached is an index of the exhibits that

are listed below.

     5.        Attached as Exhibit 1 is a true and correct copy of a redacted text message from

Christina Bobb to Defendant Giuliani dated December 5, 2020 which was produced by Christina

Bobb.
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     6.         Attached as Exhibit 2 is a true and correct copy of a text message chain between

Christina Bobb and Defendant Giuliani dated December 4, 2020 bearing Bates No.

BOBB_FM_0350 which was produced by Christina Bobb.

     7.         Attached as Exhibit 3 is a true and correct copy of a redacted Instagram message

between Christina Bobb and Defendant Giuliani dated August 17, 2022 which was produced by

Christina Bobb.

     8.         Attached as Exhibit 4 is a true and correct copy of a transcript excerpt of Defendant

Giuliani’s deposition transcript in this action, dated March 1, 2023.

     9.         Attached as Exhibit 5 is a true and correct copy of an email from Joe Sibley to Annie

Houghton-Larsen dated April 27, 2023.

     10.        Attached as Exhibit 6 is an email chain dated December 13-14, 2020 regarding a

draft statement to state electors including Defendant Giuliani which was produced by a third party.

     11.        Attached as Exhibit 7 is a true and correct copy of an email dated December 2, 2020

between Defendant Giuliani and others regarding a meeting in Georgia bearings Bate No.

BOBB_FM_0016 which was produced by Christina Bobb.

     12.        Attached as Exhibit 8 is true and correct copy of a declaration of Yaniv Schiff of

Consilio.

     13.        Attached as Exhibit 9 is a true and correct copy of a transcript excerpt of the March

21, 2023 discovery hearing in this action.

     14.        I declare under penalty of perjury that the foregoing is true and correct.



Executed on May 8, 2023.


                                                        /s/ Meryl C. Governski
                                                        WILLKIE FARR & GALLAGHER LLP
                                                        MERYL C. GOVERNSKI
                                                        1875 K Street, #100
                                                        Washington, DC 20006
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                                    Tel: (202) 303-1000
                                    Fax: (202) 303-2000
                                    mgovernski@willkie.com

                                    Attorney for Plaintiffs Ruby Freeman and
                                    Wandrea’ Moss




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